
47 N.Y.2d 935 (1979)
In the Matter of Highpoint Enterprises, Inc., Respondent,
v.
Board of Estimate of the City of New York et al., Appellants.
Court of Appeals of the State of New York.
Argued June 7, 1979.
Decided June 28, 1979.
Allen G. Schwartz, Corporation Counsel (L. Kevin Sheridan, Ronald E. Sternberg, Angelo Aiosa and Marvin Mitzner of counsel), for appellant.
Robert J. DeBoissiere for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER and MEYER. Taking no part: Judge FUCHSBERG.
Order affirmed, with costs, for the reasons stated in the memorandum at the Appellate Division.
